         Case 4:19-cv-03537 Document 15 Filed on 12/02/19 in TXSD Page 1 of 2


                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 ROXANNE GANT, individually                                          CLASS ACTION
                                                §
 and on behalf of all others
                                                §
 similarly situated,
                                                §                  Case No. 4:19-CV-3537
                                                §
       Plaintiff,                               §
                                                §              JURY TRIAL DEMANDED
                                                §
 vs.
                                                §
                                                §
 THE COCA-COLA COMPANY,                         §
 a Delaware Corporation,                        §
                                                §
   Defendant.                                   §


                                   NOTICE OF SETTLEMENT

           Plaintiff, Roxanne Gant, by and through undersigned counsel, herby gives notice that the

parties have reached a settlement with respect to Plaintiff’s individual claims. Plaintiff and

Defendant are in the process of finalizing their settlement agreement. Plaintiff anticipates filing a

notice of dismissal within ten (10) days.


Date: December 2, 2019

Respectfully Submitted,


SHAMIS & GENTILE, P.A.
/s/ Angelica M. Gentile
Angelica M. Gentile, Esq.
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Counsel for Plaintiff and the Class
     Case 4:19-cv-03537 Document 15 Filed on 12/02/19 in TXSD Page 2 of 2



                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 2, 2019, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
served this day on all counsel identified below via transmission of Notices of Electronic Filing
generated by CM/ECF or in some other authorized manner.

Respectfully submitted,
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                                            By:    /s/ Angelica M. Gentile
                                            Angelica M. Gentile, Esq.
                                            Texas Bar No. 24112322

                                            Attorneys for Plaintiff Roxanne Gant and all others
                                            similarly situated.
